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      Exhibit E
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 1                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
 2

 3   ______________________________

 4   UNITED STATES OF AMERICA,

 5                            Plaintiff,            Criminal Action
                                                    No. 22-10274-DJC
 6   V.
                                                    March 18, 2024
 7   FRANK LoCONTE,                                 2:00 p.m.

 8                       Defendant.
     _______________________________
 9

10

11                       TRANSCRIPT OF SENTENCING DAY 2

12                    BEFORE THE HONORABLE DENISE J. CASPER

13                          UNITED STATES DISTRICT COURT

14                        JOHN J. MOAKLEY U.S. COURTHOUSE

15                                 1 COURTHOUSE WAY

16                                BOSTON, MA     02210

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                           DEBRA M. JOYCE, RMR, CRR, FCRR
21                            Official Court Reporter
                          John J. Moakley U.S. Courthouse
22                          1 Courthouse Way, Room 5204
                                 Boston, MA 02210
23                              joycedebra@gmail.com

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 1   APPEARANCES:

 2   FOR THE GOVERNMENT:

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      1                               P R O C E E D I N G S

      2                      (The following proceedings were held in open

      3    court before the Honorable Denise J. Casper, United States

      4    District Judge, United States District Court, District of

      5    Massachusetts, at the John J. Moakley United States Courthouse,

      6    1 Courthouse Way, Boston, Massachusetts, on March 18, 2024.

      7                The defendant, Frank LoConte, is present with counsel.

      8    The Assistant U.S. Attorney is present.)

      9                THE CLERK:    All rise.

     10                (The Court entered the courtroom.)

     11                THE CLERK:    Court is in session.       Please be seated.

     12                Criminal action 22-10274, United States v. Frank

     13    LoConte.

     14                Would counsel please state your name for the record.

     15                MS. KAPLAN:     Good afternoon, your Honor.        Laura Kaplan

     16    on behalf of the government.

     17                THE COURT:    Good afternoon, counsel.

     18                MS. PASCUCCI:     Good afternoon, your Honor.           Michelle

     19    Pascucci and George Vien on behalf of the defendant.

02:01 20               THE COURT:    Good afternoon.

     21                Good afternoon, counsel.

     22                Good afternoon, sir.

     23                THE DEFENDANT:     Good afternoon.

     24                THE COURT:    Counsel, sir, since there was much in

     25    dispute between the parties about the guideline calculations
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      1    and ultimately what the sentence would be, I split the

      2    sentencing into two parts.

      3                On February 21st, I heard counsel's arguments about

      4    the calculations and the recommendations on either side, having

      5    previously reviewed the submissions by either side, including

      6    two victim impact letters, and I heard Mr. LoConte's statement

      7    to this Court.

      8                Unless there are victims that wanted to be heard

      9    today, counsel?

02:01 10               MS. KAPLAN:     There is one, your Honor.

     11                THE COURT:    Okay.

     12                And then I'll give Mr. LoConte an opportunity to be

     13    heard again, if he would like to be.

     14                Counsel, who's the victim?

     15                MS. KAPLAN:     Nick Sylvester, who is the current chief

     16    operating officer of NER.

     17                THE COURT:    He may approach the podium.         Thank you.

     18                MR. SYLVESTER:     Good afternoon, your Honor.

     19                (Discussion off the record.)

02:02 20               THE COURT:    Good afternoon.

     21                MR. SYLVESTER:     Good afternoon.

     22                My name is Nicholas Sylvester.         I want to thank the

     23    Court for the opportunity to speak today on behalf of NER, its

     24    employees, and my family.

     25                I am now the chief operating officer of NER
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      1    Construction, the company started by my father and his father.

      2                Now that Mr. LoConte's reign at NER has been

      3    terminated, the company is guided by a new, independent board

      4    of directors and professional management.

      5                The crimes to which Mr. LoConte has pleaded guilty to

      6    have deeply impacted NER and its employees.             Mr. LoConte's

      7    crimes resulted in long-term business partners walking away

      8    from working with NER.        Because Mr. LoConte did not pay

      9    contributions to the laborers' benefit funds, companies would

02:03 10   not hire NER due to the risk associated with the union's

     11    pulling workers from their projects, paired with the fact that

     12    many companies plainly did not want to work with the company

     13    that had been run by a man of Mr. LoConte's character.              In 2023

     14    alone, two large, previously booked projects valued at $9

     15    million were lost directly because of his indictment.               This put

     16    the jobs of almost 100 NER workers at risk.

     17                The financial impact of Mr. LoConte's crimes on NER

     18    has been drastic and will be long-lasting.            The company is

     19    saddled with debt in a workout with our bank and earnestly

02:03 20   working to recover and move forward under its new stewardship.

     21                There is also the impact on my family.           The primary

     22    asset my father left for his children when he died was NER,

     23    along with an estate comprised of some real estate and other

     24    funds.    My father trusted Mr. LoConte to be the administrator

     25    of his estate and the only trustee of his family trust for the
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      1    benefit of his children and the president of his company, NER

      2    Construction.

      3                Mr. LoConte betrayed the trust of my late father --

      4    betrayed the trust my late father put in him and has left my

      5    family with almost nothing.         After ten years of Frank LoConte's

      6    total control, the company balance sheet is in disarray, all

      7    the estate money is gone, and the last piece of my family real

      8    state in foreclosure.

      9                At the hearing on March 5th, I heard LoConte's

02:04 10   attorney attempt to justify his conduct in taking millions of

     11    dollars in personal expenses out of NER to fund his lifestyle

     12    by pointing to expenses paid to NER -- paid by NER to my

     13    mother, Janice Sylvester, and that of her three children --

     14    myself, my sister Karina and brother Jackson.

     15                The Court should know, however, that Mr. LoConte made

     16    the sole decision as the court-appointed personal

     17    representative of my father's estate to take all its liquid

     18    assets to supposedly pay off NER's corporate debt, leaving the

     19    estate without the means to meet its obligations and to pay

02:05 20   funds owed to my mother.        NER owed my father's estate some $3

     21    million.     In addition, my mother, Janice, personally loaned

     22    $500,000 to NER to fund its operations.

     23                Mr. LoConte made the decision as the personal rep of

     24    the estate and trustee to pay justifiable estate expenses to my

     25    family by making payments through NER's operations and
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      1    accounts, payments totaling far less than the amounts by NER --

      2    excuse me -- to the amounts owed by NER -- by NER to my mother

      3    and the estate.

      4                In addition, during his statement on March 5th, at the

      5    March 5th hearing, Mr. LoConte claimed that one of the reasons

      6    that he should not be incarcerated is that he started a new

      7    company called Fina Stoneworks and that he needs to run that

      8    company for the benefit of its employees.

      9                In this plea for leniency, Mr. LoConte was not candid

02:06 10   with the Court.      The truth is that Fina was started as a

     11    division of NER, which Mr. LoConte stole and put into his sole

     12    ownership.     Fina was NER's stone shop located on NER's premises

     13    and staffed by NER employees.          In 2017, Mr. LoConte transferred

     14    NER stone fabrication and manufacturing business to himself for

     15    no consideration.       For years after Mr. LoConte stole from NER,

     16    he operated the business on NER's businesses utilizing NER

     17    facilities, staffed with NER employees, paid by NER, and

     18    outfitted two fabrication facilities with NER labor, all backed

     19    by NER credit.      In fact, until only recently, the Fina website

02:07 20   stated that Fina was once a division of NER itself.

     21                In short, the company that Mr. LoConte refers to here

     22    as evidence of his new start is rather an entire business that

     23    Mr. LoConte diverted from NER for his own sole benefit.             As a

     24    sole owner, LoConte received at least $900,000 in cash

     25    distributions from Fina, the amount of which was reported on
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      1    Fina's tax returns.

      2                Furthermore, after Mr. LoConte placed NER stone

      3    manufacturing business into Fina with his sole ownership,

      4    Mr. LoConte for years continued to pass the salary expenses for

      5    Fina's business onto NER.         Mr. LoConte caused NER to pay for

      6    the payroll expenses for Fina's employees from at least 2019

      7    through January of 2022.        These payments totaled about $1.8

      8    million.     NER will never see that money.

      9                The Court should know this as the story he tells of a

02:08 10   repentant defendant ready to start fresh with a new business he

     11    founded is, yet again, nothing more than another scam.

     12                Mr. LoConte's actions have greatly damaged my family,

     13    the legacy of my late father and grandfather, and most

     14    importantly, NER.

     15                As we begin to slowly rebuild, we would ask the Court

     16    to impose a sentence that holds Mr. LoConte accountable for his

     17    actions and the damage he has caused.

     18                Thank you, your Honor.

     19                THE COURT:    Thank you, sir.      Thank you.

02:08 20               Counsel, Mr. LoConte, you gave a statement when I last

     21    saw you, which I think now was on March 5th, Ms. Hourihan, is

     22    that the correct date?

     23                Mr. LoConte, you're not required to make a further

     24    statement, but I'd give you the opportunity.

     25                (Defendant conferred with counsel.)
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      1                THE DEFENDANT:       No, thank you, your Honor.

      2                THE COURT:      Okay.    Thank you.

      3                Mr. LoConte, I've had an opportunity to reflect on all

      4     of the information in the record before me, and I'm prepared to

      5     announce and impose your sentence now.

      6                Mr. LoConte, as you probably understand from your

      7     counsel, to determine what a reasonable and appropriate

      8     sentence would be here, I must consider, and I have considered,

      9     the sentencing factors under Title 18, United States Code,

02:09 10    Section 3553(a).       Those factors include, but are not limited

     11     to, the advisory guideline sentencing range that I discussed at

     12     length with counsel on March 5th, the nature and circumstances

     13     of the crimes that you committed, your personal history and

     14     background, and the need for any sentence I impose to reflect

     15     the seriousness of your offenses; promote respect for the law

     16     and provide just punishment and adequate deterrence, not just

     17     to you, but to others; and avoid unwarranted sentencing

     18     disparities between similarly situated defendants.

     19                Mr. LoConte, I've considered all of those factors in

02:10 20    deciding your sentence.         I want to summarize my consideration

     21     of some of those factors.

     22                First, I've considered the crimes to which you've pled

     23     guilty:    Count One, mail fraud charged from January of 2014 to

     24     September of 2021; and Count Ten, failure to pay over taxes

     25     from September 2016 to April 2022, and Count Ten specifically
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      1     includes the third quarter 2021 payroll period.

      2                 All of this arises out of your leadership as president

      3     of both NER, a construction company, and NEM, the management

      4     company that runs the front office of NER.

      5                 Without needing to resolve what assistance you gave to

      6     the company when you initially took the reins of these entities

      7     or whether the Flowers payments, that is, the off-the-books

      8     payments for overtime and cash or non-payroll checks, existed

      9     before you were in place as president, it certainly remains

02:11 10    true on the record before me that you directed and approved

     11     this scheme to continue during the period charged.

     12                 As a result, you caused the company to underreport

     13     hours worked for employees to the unions and benefit funds and

     14     did so without making the required payroll tax withholding and

     15     payments.

     16                 Relatedly, you caused NER to file false or fraudulent

     17     IRS Form 941s, these quarterly reports, which underreported the

     18     wages which were being paid.         This resulted in no taxes being

     19     paid over to the IRS for, again, these Flowers payments.

02:12 20    Numerous false Form 941s were filed with the IRS on your watch.

     21                 The total loss in benefit funds and dues money from

     22     this scheme was between $550,000 and $1.5 million, as I find

     23     reasonably calculated by the government and supported by a

     24     preponderance of evidence.        The total tax loss is at least $3.5

     25     million, as I find reasonably calculated by the government and
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      1     supported by a preponderance of the evidence.             And I'll say

      2     more about that later.

      3                There were victims here.        Obviously we heard from one

      4     just now, and I've also considered the letters from the

      5     Massachusetts Laborers' Benefit Fund and the CPA for NER.

      6                First, the benefit funds were a victim, the funds that

      7     fund insurance and retirement and fringe benefits for its

      8     members; the employees of NER were also victims having been

      9     deprived of collectively bargained contribution to their fringe

02:13 10    benefits; and third, generally the public, that is, in the

     11     status of the IRS in having not been able to collect these

     12     taxes and the huge tax loss that's been incurred here.

     13                My consideration of your crime is also -- I've also

     14     considered the fact that you committed it over an extended

     15     period of time and were, as the record reveals, warned at least

     16     by one person that this scheme was improper, and all of that is

     17     particularly concerning.

     18                Mr. LoConte, however, I haven't just considered the

     19     crimes to which you pled guilty.          I've considered your personal

02:13 20    history and background.

     21                If I recall correctly, you're now 62 years old.

     22                You were born in Somerville.

     23                You were raised by your parents who still live in

     24     Saugus, and you were raised along with your five siblings.

     25                As attested by your self-report to the Probation
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      1     Department, and as the letters of support I received reflect,

      2     you remain a close-knit family.

      3                You enlisted in the Air Force at age 17.            You were

      4     honorably discharged after a number of years of service.

      5                You attended Northeastern but did not graduate but I

      6     think you attended for close to four years.

      7                You married in 1985 and were married until you

      8     separated in March of 2011.         You have three children out of

      9     that union ages 37, 25, and 33.         And your sons and their

02:14 10    families also live in Massachusetts.

     11                You've been in a committed relationship for a dozen or

     12     so years, and your partner works at one of the companies that

     13     was referenced in the PSR.

     14                And the letters of support from long-time friends,

     15     colleagues, and at least one of your sons, if I recall

     16     correctly, attest to your charitable work and support for

     17     others, particularly in times of need.

     18                You were gainfully employed for all of your adult

     19     life, mainly at NER and NEM, which is the subject of the

02:15 20    charges against you in this case, and you were employed there

     21     until 2022.

     22                You've had self-employment at Front Street

     23     Construction and Fina Stoneworks, which was made reference to

     24     today as well, but I've considered that.

     25                You've been out on pretrial release since October of
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      1     2022, and I've taken account of your compliance with your

      2     conditions of release.

      3                And you have no other criminal history that is scored

      4     here, so you're a zero points offender, which is accounted for

      5     in the advisory guideline sentencing range.

      6                Third, Mr. LoConte, I've given a lot of consideration

      7     to the advisory guideline sentencing range.            As I noted at the

      8     outset of my remarks, there was much dispute between the

      9     parties about those calculations.          I am adopting the advisory

02:16 10    guideline sentencing range for a total offense level of 21 and

     11     a Criminal History Category of I.          In doing so, I should note

     12     that I've considered your counsel's arguments about the loss

     13     amount, but I conclude that the government's calculation is

     14     reasonably calculated and supported by the preponderance of the

     15     evidence, including specifically the affidavits it proffered

     16     which were Exhibits Docket 77-1 and ones that followed those.

     17                A few points on the loss amount.

     18                There was much made about a settlement made in a civil

     19     matter regarding the benefit funds, which I -- was clearly not

02:16 20    binding on this Court, particularly where I find the

     21     government's calculations are reasonably supported by the

     22     record that's before me.

     23                I also think it's proper to include checks and amounts

     24     less than $2,000, as explained in the government's affidavits.

     25                I also don't think that the Flowers money is
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      1     overstated where the government has explained its calculations

      2     in detail, and where so much of the Flowers payments were made

      3     in office staff cash, which makes an exact calculation

      4     difficult, but I think counting just the checks seems to

      5     understate the loss.

      6                As to the loss, the tax loss, Mr. LoConte,

      7     specifically, I don't find a basis to conclude that taxes from

      8     2020 to 2022 were properly deferred or that it was reasonable

      9     for to you think that they were.          But for all of the reasons in

02:17 10    the record supporting the government's calculations, I accept

     11     those loss amounts.

     12                I also think it was appropriate, as Probation

     13     calculated, to group the two charges in two different groups

     14     pursuant to 3D1.2, because there were separate harms involved:

     15     Count One at least to the NER employees and benefits funds, and

     16     in Count Ten to the IRS and the general tax paying public.

     17                I also think it was correct to apply the abuse of

     18     trust enhancement under 3B1.3.         As I noted before, you were

     19     president of both entities.         You certainly had discretionary

02:18 20    authority over the accounts, which was supported by some of the

     21     witness statements that were cited by the government.               And your

     22     position, quote, significantly facilitated the commission and

     23     concealment of the offense, end quote, which is required for

     24     the application of this enhancement.

     25                Also, it was abuse of trust as to Count One where the
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      1     NER employees are certainly victims, and it's at least an abuse

      2     of trust to them, so I've considered that.

      3                I've considered as well, since the advisory guidelines

      4     sentencing range is not the only factor before me, I've also

      5     considered all of the goals of sentencing that I mentioned at

      6     the beginning of my remarks, and I won't repeat them, but I

      7     just want to make a few points.

      8                I do have to consider just punishment and the

      9     seriousness of your offense, which to me, as I suggested, is

02:19 10    serious, not just in its loss amount, but in its length of

     11     time.

     12                I've also considered the national JSIN data that 93

     13     percent of defendants in your same criminal history and with

     14     offense levels with the same primary guideline have received a

     15     prison sentence.      The average length for the defendants who

     16     have been sentenced to prison was 28 months and the median was

     17     also 28 months.      All of the defendants in that category,

     18     including those that did not get a period of incarceration, the

     19     average was 26 months and the median was 25 months.

02:20 20               I don't agree with the length of the sentence that the

     21     government is advocating based on all of the factors I've

     22     considered, but I do agree that a period of incarceration is

     23     warranted.

     24                I've considered the summary of the cases that were

     25     cited by your counsel in your sentencing memo in which
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      1     defendants received home confinement in some cases, but I would

      2     just note those were for loss amounts that are less than those

      3     that were reasonably calculated here, and they were also less

      4     than the loss amount in a case that was recently before me,

      5     U.S. v. Schofield, which counsel cited to me.             It was also not

      6     clear in some of those cases from other sessions over what

      7     period of time the crime was committed or if there were any

      8     extenuating circumstances that were present there that are not

      9     present in this case.

02:21 10               I've also considered the periods of imprisonment that

     11     were imposed in other cases that were also cited in your

     12     sentencing memo.

     13                For all of these reasons, Mr. LoConte, I'm going to

     14     impose a sentence of imprisonment of 20 months of

     15     incarceration, three years of supervised release.              I'm going to

     16     impose a low-end fine of $15,000, which would have been higher

     17     but for the restitution that I'm going to impose; the mandatory

     18     special assessment of $200; and restitution in the amounts that

     19     the government seeks, which is, I believe, Ms. Kaplan,

02:21 20    $3,035,648 to the IRS, $596,462 to NER, and $1,094,504 to the

     21     benefit funds.

     22                Ms. Kaplan, is that correct?

     23                MS. KAPLAN:     Yes, I believe so, your Honor.

     24                THE COURT:     Mr. LoConte, for all of the reasons that

     25     I've cited, I conclude that this sentence in all of its
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      1     components is a reasonable and appropriate sentence and is

      2     sufficient, but not greater than necessary, to accomplish all

      3     of the goals of sentencing that I've mentioned.

      4                Counsel, does either side need to be heard before I

      5     formally impose sentence?

      6                MS. KAPLAN:     Your Honor, I'm sorry, can you just

      7     repeat what the amount of restitution is?

      8                THE COURT:     Sure.   And again, this was from, I think,

      9     both your sentencing memo and even the chart that was included

02:22 10    in defense counsel's sentencing memo.           So, in the order in

     11     which I recited them, $3,035,648 to the IRS; $596,462 to

     12     NER/NEM; and $1,094,504 to the benefit funds.             I didn't break

     13     that down further, but --

     14                MS. KAPLAN:     Do you want to break down the amount of

     15     money to the Mass. Department of Revenue?            Because we've got

     16     that -- you've got that full 3 million 3 to the IRS, and

     17     there's $210,570 of that that's owed to the Mass. Department of

     18     Revenue.

     19                THE COURT:     Counsel, I thought that that was an amount

02:23 20    that was included in the loss amount as relevant conduct but

     21     not sought for the purposes of restitution.            But am I --

     22                MS. KAPLAN:     No, we were seeking it as restitution as

     23     well, your Honor.

     24                THE COURT:     Okay.

     25                MS. KAPLAN:     So it comes out of that full amount that
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      1     you cited to the IRS.

      2                THE COURT:     It comes out of the 3,035,000?

      3                MS. KAPLAN:     I believe so, your Honor.

      4                So I believe what we were asking for to the IRS was

      5     $3,035,648 to the IRS, $210,570 to the Mass. Department of

      6     Revenue, and then the 596,462 to NER.

      7                THE COURT:     Okay.

      8                Does counsel need to be heard on the 210,570 to the

      9     Department of Revenue in light of what I've otherwise found?

02:24 10               MS. PASCUCCI:      One moment, your Honor.

     11                THE COURT:     Sure.

     12                (Discussion off the record.)

     13                MS. PASCUCCI:      Your Honor, as long as the overall

     14     total of restitution does not change, we have no dispute if

     15     some of it goes to Massachusetts as opposed to the IRS.

     16                THE COURT:     Okay.

     17                So, counsel, I'm not sure from the chart I have on

     18     page 56, Docket 80, which is the defendant's sentencing memo,

     19     if the $3,035,000 does include that amount, because I had

02:25 20    separately broken out the 596 number to NER, and, counsel, my

     21     math is not that good to do it that quickly.

     22                I think, counsel -- and either side can correct me if

     23     I'm wrong, but I think the total amount of $3.8 was the amount

     24     that included the 3 million figure to IRS, the 596 figure to

     25     NER/NEM, and the 210 to the DOR.
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      1                MS. KAPLAN:     If I could just have one moment.

      2                THE COURT:     Sure.

      3                MS. KAPLAN:     Okay.

      4                So I think you're correct.        The total tax loss the

      5     government would argue is 3,842,680, you're right.              And then we

      6     took out that $210,000 number for the Mass. Department of

      7     Revenue.

      8                THE COURT:     Okay.

      9                MS. KAPLAN:     And we also backed out of that number, I

02:26 10    believe, the money -- the 596 that was owed to NER.

     11                THE COURT:     Right.    But you are still seeking it in

     12     restitution.

     13                MS. KAPLAN:     Right.

     14                THE COURT:     Counsel, with that said, do you need to be

     15     heard?

     16                MS. PASCUCCI:      No, your Honor.     We don't have

     17     additional argument on that point.

     18                THE COURT:     Okay.

     19                So I will -- so let me just say these numbers

02:26 20    correctly for the record.

     21                So the restitution I'm including is a total -- is a

     22     total of $3,842,680.       Of that, $3,035,648 is to the IRS;

     23     $596,462 is to NER/NEM; $210,570 is to the Mass. Department of

     24     Revenue; and $1,094,504 is to the benefit funds.

     25                MS. KAPLAN:     I believe that's correct, your Honor.
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      1                THE COURT:     Okay.

      2                Counsel, before I formally impose sentence, does

      3     either side need to be heard?

      4                And let me just mention that I am going to -- I was

      5     planning to impose the special conditions that are indicated or

      6     suggested by Probation on the bottom of page 34, which largely

      7     relate to the restitution and the fine that I've just imposed.

      8                Does either side need to be heard either on that or

      9     anything else?

02:28 10               Ms. Kaplan?

     11                MS. KAPLAN:     No, your Honor.

     12                MS. PASCUCCI:      Your Honor, we would ask that he be

     13     allowed to voluntarily surrender under 18 USC 3143(a).              The

     14     standard is clear and convincing evidence if the person is not

     15     likely to flee or pose a danger to any other person in the

     16     community.     Given that he's been aware of these charges prior

     17     to being indicted and given all that's going on, there's no

     18     danger that he's going to flee.         He doesn't pose any danger to

     19     the community.      And it also gives him an opportunity to get his

02:28 20    affairs and work in order and try to get Fina Stoneworks into a

     21     position where it can continue to operate in his absence.

     22                THE COURT:     Ms. Kaplan, any objection to that?         I

     23     think we're usually picking a six-week out date.

     24                MS. KAPLAN:     No objection.

     25                THE COURT:     Ms. Hourihan, a date.
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      1                THE CLERK:     April 30th.

      2                THE COURT:     April 30th.

      3                Mr. LoConte, if can you please rise.

      4                Sir, pursuant to the Sentencing Reform Act of 1984 and

      5     having considered the sentencing factors, as I said, under

      6     Title 18, United States Code, Section 3553(a), it is the

      7     judgment of this Court that you're to serve a term of 20 months

      8     in the custody of the Bureau of Prisons.           This term will be 20

      9     months on Count One and 20 months on Count Two to be served

02:29 10    concurrently.

     11                Upon your release from imprisonment, you shall be

     12     placed on a term of supervised release for three years.

     13                I am also going to impose restitution in the amounts

     14     that I just stated, but just so it's all clear, in the amount

     15     of $3,842,680, which is broken down into $3,035,648 to the IRS;

     16     $596,462 to NER/NEM; and $210,570 to the Mass. Department of

     17     Revenue; in addition, $1,094,504 to the benefit funds.              Those

     18     payments will be made pursuant to a court-ordered repayment

     19     plan.

02:30 20               I am imposing a low-end fine of $15,000, which will

     21     also be paid pursuant to a court-ordered repayment plan.

     22                In terms of your supervised release, you'll be subject

     23     to certain mandatory and standard conditions of supervised

     24     release.

     25                Counsel, does your client waive the reading of those?
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      1                MS. PASCUCCI:      Yes, your Honor.

      2                THE COURT:     In addition, sir, you'll be subject to

      3     certain special conditions.         All of these conditions will be

      4     reflected in the written judgment that I will issue, but I will

      5     read the special conditions to you now.

      6                You must pay restitution in the amount that I have

      7     explained according to a court-ordered repayment schedule.

      8                You must pay the balance of any fine or restitution,

      9     as I said, pursuant to that schedule.

02:31 10               You're prohibited from incurring new credit charges or

     11     opening additional lines of credit without the prior approval

     12     of Probation while your financial obligations remain

     13     outstanding.

     14                You must provide Probation access to any requested

     15     financial information, which may be shared with the asset

     16     forfeiture unit of the U.S. Attorney's Office.

     17                I further order that you pay the mandatory special

     18     assessment of $200, which shall be due immediately.

     19                And as I said, I will permit your self-surrender on

02:31 20    April 30th to the BOP facility to which you are designated.

     21                You can be seated for the moment.          Thank you.

     22                Ms. Kaplan, was there a dismissal that was going to be

     23     made at this point?

     24                MS. KAPLAN:     Yes, your Honor.

     25                The government would move to dismiss Counts --
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      1                THE COURT:     Is it Two through Nine and then Eleven

      2     through Thirteen?

      3                MS. KAPLAN:     I believe that's correct, your Honor.

      4                THE COURT:     Okay.   I will allow that motion.

      5                Counsel, to the extent that Mr. LoConte's appellate

      6     rights survive the waiver in his plea agreement, other than

      7     advising him of his appellate rights, any other matters?

      8                MS. KAPLAN:     The only thing I would ask, your Honor, I

      9     think some of this is statutory anyway, but that the

02:32 10    restitution be made first to the non-governmental victims in

     11     this case, being NER and the benefit funds, before it goes to

     12     the IRS.

     13                THE COURT:     Okay.

     14                I think that is statutory.        Meaning, I don't think I

     15     have to say anything in my judgment for that to happen.

     16                PROBATION OFFICER:       That's correct, your Honor.

     17                THE COURT:     Thank you.

     18                Anything else, counsel?

     19                MS. PASCUCCI:      No, your Honor.     Thank you.

02:33 20               THE COURT:     Mr. LoConte, you may recall when I took

     21     your guilty plea, I talked to you about the part of your

     22     agreement in which you waived or gave up certain of your

     23     appellate rights.      Do you recall that?

     24                THE DEFENDANT:      I do.

     25                THE COURT:     Mr. LoConte, to the extent that any of
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      1     your appellate rights survive that waiver, I advise you that

      2     you can appeal your conviction or the sentence I've just

      3     imposed.    If you're unable to pay the costs of appeal, you may

      4     ask permission to have those costs waived and appeal without

      5     paying.

      6                You must file any notice of appeal within 14 days

      7     after entry of my judgment, and if you request, the clerk of

      8     this court will prepare and file a notice of appeal on your

      9     behalf.

02:33 10               Do you understand?

     11                THE DEFENDANT:      I do.

     12                THE COURT:     Okay.

     13                Thank you, counsel.

     14                THE CLERK:     All rise.

     15                (Court adjourned at 2:34 p.m.)

     16                              - - - - - - - - - - - -

     17                                    CERTIFICATION

     18                I certify that the foregoing is a correct transcript

     19     of the record of proceedings in the above-entitled matter to

     20     the best of my skill and ability.

     21

     22

     23

     24     /s/Debra M. Joyce                            April 1, 2024
            Debra M. Joyce, RMR, CRR, FCRR               Date
     25     Official Court Reporter
